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 9

10   Attorneys for Plaintiffs
11                                UNITED STATES DISTRICT COURT
12                               NORTHERN DISTRICT OF CALIFORNIA
13   SHERRILL FARRELL, JAMES                        Case No.: 3:23-CV-04013-JCS
     GONZALES, JULIANNE “JULES” SOHN,
14   STEPHAN “LILLY” STEFFANIDES,                   CIVIL RIGHTS ACTION
     individually and on behalf of all others
15   similarly situated,                            CLASS ACTION
16            Plaintiffs,                           DECLARATION OF LORI RIFKIN IN
                            v.                      SUPPORT OF PLAINTIFFS’ MOTION FOR
17                                                  CLASS CERTIFICATION, FINAL APPROVAL
     UNITED STATES DEPARTMENT OF                    OF CLASS ACTION SETTLEMENT, AND
18   DEFENSE; LLOYD J. AUSTIN III,                  REASONABLE ATTORNEYS’ FEES AND
     Secretary, United States Department of         COSTS; AND EXHIBITS
19   Defense, in his official capacity;
     CHRISTINE WORMUTH, Secretary, United           Judge:      Hon. Joseph Spero
20   States Army, in her official capacity;         Date:       March 12, 2025
     CARLOS DEL TORO, Secretary, United             Time:       9:30 a.m.
21   States Navy, in his official capacity; FRANK   Location:   Courtroom D, 15th Floor
     KENDALL, Secretary, United States Air
22   Force, in his official capacity,
23           Defendants.
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     DECLARATION OF LORI RIFKIN                                        CASE NO.: 3:23-CV-04013-JCS
 1   I, Lori Rifkin, declare as follows:
 2          1.      I am an attorney licensed to practice law in the state of California and before this
 3   Court, and am counsel of record for Plaintiffs in this case. I submit this declaration in support of
 4   Plaintiffs’ Motion for Class Certification, Final Approval of Class Action Settlement, and Attorneys’
 5   Fees and Costs. I have personal knowledge of the facts contained in this declaration and, if called
 6   upon, I could testify in a court of law to the accuracy of the matters set forth herein.
 7          2.      I am the Litigation Director of the Impact Fund, a nonprofit legal foundation that
 8   supports complex public interest litigation with grants and training. I have been closely involved in
 9   litigation, negotiations, and settlement of this case on behalf of the Impact Fund.
10          3.      Attached hereto as Exhibit 1 is a true and correct copy of the January 3, 2025 fully
11   executed Settlement Agreement (“SA”) between the Parties to this litigation.
12          4.      Attached hereto as Exhibit 2 is a true and correct copy of the class notice (“Notice”),
13   approved and updated per the Court’s January 8, 2025 Order, ECF No. 85, which the parties have
14   posted online and distributed in accordance with the approved notice plan.
15          5.      Defendants’ counsel have represented to me that they do not oppose Plaintiffs’
16   Motion for Class Certification, Final Approval of Class Action Settlement, and Attorneys’ Fees and
17   Costs, and that they intend to file a statement of non-opposition.
18                                           Settlement Agreement
19          6.      This proposed settlement establishes two streamlined procedures to systematically
20   correct veterans’ DD-214s over the course of a three-year period to remove sexual orientation
21   indicators, upgrade Re-Entry codes, and provide an expedited discharge upgrade review process for
22   veterans who received characterizations of discharge below Honorable. This relief will alleviate the
23   burdens of the current individualized process that creates prejudicial barriers for the class. If
24   approved, the settlement will yield expedited, certain, and substantial relief, without the considerable
25   burdens, risks, and delays of ongoing and strongly contested federal court litigation.
26          7.      I believe that the settlement is in the best interests of the class. The settlement is fair,
27   reasonable, adequate, and an excellent outcome for veterans who have endured ongoing injury
28   resulting from discharge based on sexual orientation in violation of their constitutional rights.

     DECLARATION OF LORI RIFKIN                                                CASE NO.: 3:23-CV-04013-JCS
                                                   1
 1             8.    Class Representatives and Class Counsel are well-suited to represent the class and
 2   have demonstrated their commitment to the class over the course of this litigation.
 3             9.    Impact Fund attorneys and staff worked diligently with co-counsel and committed
 4   significant resources to investigate and litigate the claims in this case. The procedural background
 5   and litigation and settlement negotiation history are detailed in my Declaration previously filed in
 6   Support of Plaintiffs’ Motion for Conditional Class Certification, Preliminary Approval of the Class
 7   Action Settlement and Reasonable Attorneys’ Fees and Costs, ECF No. 82-1, and incorporated
 8   herein.
 9             10.   The Impact Fund team assessed the proposed settlement agreement in consultation
10   with co-counsel and Class Representatives, and based on our thorough investigation of this case,
11   prior litigation experience, and additional information obtained through the course of settlement
12   discussions.
13             11.   Throughout the settlement process, I had a firm understanding of the risks and
14   benefits of further litigation. I strongly believe in the merits of Plaintiffs’ case. However, Plaintiffs’
15   claims involve disputed legal issues that the parties have been litigating since the beginning of the
16   action, and there is a possibility the class might not be certified, or Plaintiffs’ claims may fail on the
17   merits. Moreover, class claims pending against the government given the change of administration
18   could result in many more delays, along with the delays inherent to class action litigation based upon
19   the complexity of the claims, length of discovery, and the calendaring of civil matters for resolution.
20             12.   Given the substantial risks of this litigation, I believe that the proposed settlement is
21   in the best interests of the proposed settlement class. The settlement is fair, reasonable, and
22   adequate, and will meaningfully remediate the ongoing discrimination resulting from the sexual
23   orientation indicators that remain on veterans’ DD-214s.
24                                                 Class Notice
25             13.   The parties implemented the notice plan described in the settlement and approved by
26   the Court in its January 8, 2025 Order. ECF No. 85.
27             14.   The Notice, updated per the Court’s Order, is attached hereto as Exhibit 2. The
28   Notice has been posted on a public-facing Department of Defense website and on Plaintiffs’

     DECLARATION OF LORI RIFKIN                                                CASE NO.: 3:23-CV-04013-JCS
                                                    2
 1   counsel’s case website and shared with various LGBTQ+ and veterans’ community groups, legal
 2   clinics, and related listservs across the country. The Impact Fund and Legal Aid at Work have also
 3   posted the Notice and/or summaries thereof on their organizations’ social media accounts.
 4           15.    The parties issued press releases with information about the settlement, which was
 5   subsequently covered by various news outlets in written articles and live video interviews.
 6           16.    Class counsel have received numerous communications from class members who
 7   learned about the settlement through the notice process, and class member responses to the
 8   settlement have been positive. Class Counsel have received no objections from class members.
 9           17.    Within three months of final approval of the settlement, Defendants will mail letters
10   to class members on the list that inform them of their opportunity to request changes to their DD-
11   214s. The letters will be sent by means that permit tracking and return notice of forwarding address
12   or non-deliverability but do not require signature of the recipient. Because of privacy concerns and
13   risk of compounding the harms described in this case, these individualized letters will not specify
14   the nature of the changes relating to sexual orientation but will inform recipients that they must
15   return a signed and dated form to obtain a correction to their DD-214.
16           18.     Because DOD has informed Plaintiffs that it does not have electronic records or any
17   means of conducting a search of records for veterans discharged prior to January 1, 1980 other than
18   by going through the file of every veteran by hand to determine whether a veteran was discharged
19   on the basis of sexual orientation, the settlement does not require Defendants to proactively identify
20   or send letters to class members discharged prior to January 1, 1980. However, these class
21   members are eligible for the settlement relief, and the notice plan is designed to try to reach as
22   many of these individuals as possible.
23                                  Reasonable Attorneys’ Fees and Costs
24          19.     The Impact Fund was founded in 1992, and provides advice, counseling, and training
25   in class action and complex litigation for social justice litigators. The Impact Fund maintains an
26   active class action litigation docket, has authored dozens of amicus briefs in class actions cases, and
27   has participated in hearings of the federal Advisory Committee on Civil Rules regarding rules of
28   civil procedure, particularly Rule 23. I set forth the experience and qualifications of each of Impact

     DECLARATION OF LORI RIFKIN                                             CASE NO.: 3:23-CV-04013-JCS
                                                  3
 1   Fund’s attorneys who worked on this case in my Declaration previously filed in Support of
 2   Plaintiffs’ Motion for Conditional Class Certification, Preliminary Approval of the Class Action
 3   Settlement and Reasonable Attorneys’ Fees and Costs, ECF No. 82-1, and incorporated herein.
 4          20.     The settlement agreement provides for Defendants to pay Plaintiffs $350,000 in
 5   reasonable attorneys’ fees and costs. The Parties negotiated attorneys’ fees and costs independent of
 6   the injunctive relief set forth in the settlement, and the settlement is not conditioned upon the Court’s
 7   approval of any attorneys’ fees or costs.
 8          21.     Contemporaneous billing records of Plaintiffs’ counsel through September 30, 2024,
 9   show that counsel combined spent 4,577.1 hours on this matter and incurred approximately $17,000
10   in litigation costs and expenses. Using the 2024 EAJA statutory maximum rate of $251.84 per hour,
11   this results in an estimated lodestar of $1,152,697.
12          22.     Impact Fund attorneys and paralegals spent 1978 hours on this matter through
13   September 30, 2024. Using the 2024 EAJA statutory maximum rate of $251.84 per hour, this would
14   result in an estimated lodestar of $483,858.36. Using Impact Fund’s customary and usual billing
15   rates, the estimated lodestar is $1,612.220. Impact Fund has incurred approximately $5,000 in
16   litigation costs and expenses.
17          23.     Payment of $350,000 for attorneys’ fees and costs represents approximately 30% of
18   Plaintiffs’ counsel’s lodestar through September 30, 2024 using the 2024 EAJA rate. When
19   calculated at the 2024 EAJA statutory maximum rate of $244.62 per hour, payment of $350,000
20   compensates Plaintiffs’ attorneys for approximately 1,389.8 hours of work, which is less than Impact
21   Fund’s lodestar alone. Based on my experience, this amount is a very high reduction in Plaintiffs’
22   fees and costs, even when accounting for the diligent exercise of billing judgment and application of
23   the earlier years’ EAJA rates for work performed in those years.
24          24.     In order to test for reasonableness, Plaintiffs’ counsel also assessed their lodestar
25   when looking at billing records for only the two primary attorneys (defined as the attorneys who
26   completed the most work on the case) at each co-counsel organization. The estimated lodestar for
27   the primary attorneys through September 30, 2024, at 2024 EAJA rates, is $670,751, reflecting
28   2,663.4 hours of work. Plaintiffs’ requested attorneys’ fees and costs are only approximately 52% of

     DECLARATION OF LORI RIFKIN                                              CASE NO.: 3:23-CV-04013-JCS
                                                   4
 1   the lodestar through September 30, 2024 for just those attorneys, and less than 50% of the lodestar
 2   when accounting for the additional work by Plaintiffs’ counsel since then.
 3          25.     Since September 2024, Plaintiffs’ attorneys have done substantial additional work
 4   necessary to the litigation, including: negotiating with Defendants to finalize the settlement
 5   agreement throughout October 2024 to final execution on January 6, 2025; preparing class notice;
 6   preparing and filing the motion for conditional class certification and preliminary approval and
 7   supporting declarations from counsel and named Plaintiffs; implementing the class notice plan; and
 8   preparing and filing the instant motion for class certification, final approval, and award of fees.
 9          26.     In the interest of obtaining timely relief for the Settlement Class, Plaintiffs and
10   Plaintiffs’ counsel are willing to forego seeking higher fees or a fee enhancement based on the
11   presence of a special factor such as the distinctive knowledge and skills of Plaintiffs’ counsel
12   necessary for successful litigation of this case.
13

14   I declare under penalty of perjury under the laws of the State of California and of the United States
15   that the foregoing is true and correct, and that this declaration was executed on February 12, 2025, in
16   Berkeley, California.
17
                                                                   /s/ Lori Rifkin
18                                                                 __________________
19                                                                 Lori Rifkin

20                                                                 Attorneys for Plaintiffs and
                                                                   Conditionally Certified Settlement Class
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     DECLARATION OF LORI RIFKIN                                              CASE NO.: 3:23-CV-04013-JCS
                                                    5
EXHIBIT 1
                 SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS
                  In Farrell v. U.S. Dep’t of Def., 3:23-cv-04013-JCS (N.D. Cal.)

          As the Secretary of Defense recently stated, for decades, Department of Defense (“DoD”)

policies required gay and lesbian Service members to hide their sexual orientation or prevented

them from serving altogether. Even still, those service members, including the Settlement Class

members, “selflessly put themselves in harm’s way for the good of our country and the American

people.” Statement by Secretary of Defense Lloyd J. Austin III on the Twelfth Anniversary of the

Repeal of Don’t Ask Don’t Tell. In recognition of the Settlement Class members’ service and

sacrifice, the Defendants acknowledge that certain service members, including Settlement Class

members, may have an error or injustice in their record that warrants corrections to service

characterization, changes to the narrative describing the basis for discharge, changes to separation

and reentry codes, or other appropriate relief. Accordingly, and in the interest of resolving all

claims in the Civil Action captioned Farrell v. U.S. Dep’t of Def., 3:23-cv-04013-JCS (N.D. Cal.)

without the expense, delay, and inconvenience of further litigation of the issues raised in the Civil

Action, and in reliance upon the representations, mutual promises, covenants, and obligations set

out in this Settlement Agreement (“Agreement”), and for good cause and valuable consideration

also set out in this Settlement Agreement, the parties, through their undersigned counsel of record,

hereby stipulate and agree as follows:

I.        GENERAL PROVISIONS

     A.      Recitals

     1. On August 8, 2023, Plaintiffs filed a Complaint alleging that Defendants’ failure to remove

          indicia of their sexual orientation and to otherwise correct their discharge paperwork

          violated the Constitution. Dkt. No. 1.




                                                   1
2. On October 26, 2023, Plaintiffs filed an Amended Complaint (the “Complaint”) containing

     the same allegations. Dkt. No. 43.

3. On June 20, 2024, the district court issued an order denying Defendants’ motion to dismiss

     the Complaint. Dkt. No. 67.

B.      Definitions

4. The defined terms set forth below, and as otherwise defined herein, will have the meanings

     ascribed to them for the purposes of this Settlement Agreement.

        a. “Administratively separated” means discharged from a Military Service with a non-

            punitive discharge.

        b. “Availability Date” means the date that the administrative change process described

            in paragraph 6 and the group Board review process described in paragraph 7 are

            made available to begin accepting and processing requests from Class Members.

            Class Member requests to be included in the administrative change and group

            Board review processes will be accepted for at least three years from the

            Availability Date, and any requests received within that time period will be

            completed regardless of whether the three-year period has ended. The Availability

            Date may be different for each Service Branch. The Department of Defense will

            clearly post the 3-year period running from the Availability Date(s) on its public

            facing website.

        c. “Civil Action” means the civil action captioned Farrell v. U.S. Dep’t of Def., 3:23-

            cv-04013-JCS (N.D. Cal.).

        d. “Class” or “Settlement Class” means veterans of the U.S. Army, U.S. Navy, U.S.

            Air Force, and U.S. Marine Corps who were administratively separated prior to

            September 20, 2011, and whose most recent Service separation document shows


                                             2
   their basis for discharge was sexual orientation, homosexual conduct, homosexual

   admission, homosexual marriage, similar language, or a policy title or number

   signifying separation for sexual orientation.

e. “Class Counsel” means Chelsea Corey, Haynes & Boone LLP; David Willingham,

   Radha Sathe Manthe, Rachel T. Yeung, King & Spalding LLP; Elizabeth Kristen,

   Lynnette Miner, Legal Aid at Work; and Jocelyn D. Larkin, Lindsay Polastri Nako,

   Lori Rifkin, Fawn Jade Korr, Meredith Dixon, Impact Fund.

f. “Class Representatives” means and includes Sherril Farrell, James Gonzales,

   Julianne “Jules” Sohn, and Stephan “Lilly” Steffanides.

g. “Defendants” means United States Department of Defense; Lloyd J. Austin, III, in

   his official capacity as Secretary, United States Department of Defense; Christine

   Wormuth, in her official capacity as Secretary of the United States Army; Carlos

   Del Toro, in his official capacity as Secretary of the United States Navy; and Frank

   Kendall, in his official capacity as Secretary of the United States Air Force; or their

   successors.

h. “Don’t Ask, Don’t Tell” or “DADT” means Section 571 of the National Defense

   Authorization Act for Fiscal Year 1994 and Department of Defense policies

   implementing that section in effect between February 28, 1994, and September 20,

   2011.

i. “DD-214” means a Department of Defense DD Form 214, Certificate of Release or

   Discharge from Active Duty.

j. “District Court” and “Court” mean the United States District Court for the Northern

   District of California.




                                     3
k. “Entry Level Separation” means an administrative separation initiated when an

   enlisted service member is in an entry level status (for Settlement Class members

   typically before the completion of 180 days of service) and otherwise has the same

   meaning as the Department of Defense or Military Service Instructions or

   Regulations governing Enlisted Administrative Separations that were in effect

   when the separation was processed.

l. “Effective date” or “effective date of this Agreement” means the date that the Final

   Approval order is entered. In the event that a class member submits an objection

   to the settlement and the court overrules the objection, the parties will meet and

   confer regarding whether the Effective Date should be adjusted in light of the

   likelihood, the relative merits, and the scope of any potential appeal. In the event

   that the parties cannot reach agreement, defendants may apply to the district court

   or the Ninth Circuit for a stay of implementation of this Agreement.

m. “Military Departments” means and includes the Department of the Army, the

   Department of the Air Force, and the Department of the Navy.

n. “Military Services” means and includes the U.S. Army, U.S. Navy, U.S. Air Force,

   and U.S. Marine Corps.

o. “Narrative Reason” means the explanation included on a veteran’s service

   separation document that corresponds to the assigned Separation Program

   Designator (SPD) code.

p. “Parties” means and refers to Named Plaintiffs and Defendants.

q. “Plaintiffs” or “Named Plaintiffs” means and includes the Class Representatives.




                                     4
r. “Preliminary Approval Order” means the Order entered by the Court preliminarily

   approving the terms and conditions of this Agreement, including the manner and

   timing of providing notice to the Class, the period for objections and the date, time

   and location of the Fairness Hearing.

s. “Pre-DADT policy” or “Pre-DADT policies” means Department of Defense or

   Military Services policy prior to the adoption of DADT indicating the basis of

   administrative separation was sexual orientation, homosexual conduct, homosexual

   admission, homosexual marriage, or a similar basis referencing sexual orientation.

t. “Reason and Authority” means the explanation for discharge included on a

   veteran’s service separation document issued prior to the Military Department’s use

   of SPD codes.

u. “RE code” means the Reentry code on a veteran’s service separation document that

   provides a characterization of the veteran’s eligibility to re-enter the military

   following an administrative separation.

v. “Service separation document” means (1) for Veterans of the U.S. Army, U.S.

   Navy, U.S. Air Force, and U.S Marine Corps who were administratively separated

   after December 31, 1949, and prior to September 20, 2011, the DD Form 214,

   otherwise known as a “Certificate of Release or Discharge from Active Duty” and

   (2) for Veterans of the U.S. Army, U.S. Navy, U.S. Air Force, and U.S Marine

   Corps who were administratively separated prior to January 1, 1950, the report of

   separation form serving as the functional equivalent of the DD Form 214.

w. “Settlement Class Category” means Settlement Class Category A, Settlement Class

   Category B, Settlement Class Category C, Settlement Class category D, Settlement




                                     5
   Class Category E, Settlement Class Category F, Settlement Class Category G,

   Settlement Class Category H, and Settlement Class Category I. Each member of

   the Class is assigned to one of these nine categories based on the date of their

   separation and the characterization of their discharge.

Settlement Characterization of Service           Time Period Covered
Category
     A     Honorable                             February 28, 1994 – September 20,
                                                 2011

     B        Entry Level/Uncharacterized        February 28, 1994 – September 20,
                                                 2011

     C        General Under Honorable            February 28, 1994 – September 20,
              Conditions or Under Other          2011
              Than Honorable

     D        Honorable                          January 1, 1980 – February 27, 1994

     E        Entry Level/Uncharacterized        January 1, 1980 – February 27, 1994

     F        General Under Honorable            January 1, 1980 – February 27, 1994
              Conditions or Under Other
              Than Honorable

     G        Honorable                          Prior to January 1, 1980

     H        Entry Level/Uncharacterized        Prior to January 1, 1980

     I        General Under Honorable            Prior to January 1, 1980
              Conditions or Under Other
              Than Honorable


x. “Settlement Class Category A” means veterans who were administratively

   separated and received an Honorable Characterization of Discharge from Military

   Service and have an SPD code on their DD-214 that indicates that DADT was a

   reason for their administrative separation.




                                     6
y. “Settlement Class Category B” means veterans who were administratively

   separated and received an Uncharacterized Discharge as a result of an Entry Level

   Separation from a Military Service and have an SPD code on their DD-214 that

   indicates that DADT was a reason for their administrative separation.

z. “Settlement Class Category C” means veterans who were administratively

   separated and received a General (Under Honorable Conditions) or an Under Other

   Than Honorable discharge characterization from a Military Service and have an

   SPD code on their DD-214 that indicates that DADT was a reason for their

   administrative separation, but does not include veterans who received all relief

   available under paragraph 7 from the Department of Defense proactive review

   process announced on September 20, 2023.

aa. “Settlement Class Category D” means veterans who were administratively

   separated on or after January 1, 1980, and received an Honorable Characterization

   of Discharge from a Military Service and have an SPD code on their DD-214

   indicating that pre-DADT policies formed a reason for their administrative

   separation.

bb. “Settlement Class Category E” means veterans who were administratively

   separated on or after January 1, 1980, and received an Uncharacterized Discharge

   as a result of an Entry Level Separation from a Military Service and have an SPD

   code on their DD-214 indicating that pre-DADT policies formed a reason for their

   administrative separation.

cc. “Settlement Class Category F” means veterans who were administratively

   separated on or after January 1, 1980, and received a General (Under Honorable




                                   7
   Conditions) or an Under Other Than Honorable discharge characterization from a

   Military Service and have an SPD code on their DD-214 indicating that pre-DADT

   policies formed a reason for their administrative separation.

dd. “Settlement Class Category G” means veterans who were administratively

   separated prior to January 1, 1980, and received an Honorable Characterization of

   Discharge from a Military Service and have an SPD code on their service separation

   document indicating that pre-DADT policies formed a reason for their

   administrative separation or where the veteran’s service separation document does

   not contain an SPD code the veteran received a service separation document where

   the Reason and Authority for discharge on the service separation document

   indicates that pre-DADT policies formed a reason for their administrative

   separation.

ee. “Settlement Class Category H” means veterans who were administratively

   separated prior to January 1, 1980, and received an Uncharacterized Discharge as

   a result of an Entry Level Separation from a Military Service and have an SPD code

   on their service separation document indicating that pre-DADT policies formed a

   reason for their administrative separation or where the veteran’s service separation

   document does not contain an SPD code the veteran received a service separation

   document where the Reason and Authority for discharge on the service separation

   document indicates that pre-DADT policies formed a reason for their

   administrative separation.

ff. “Settlement Class Category I” means veterans who were administratively separated

   prior to January 1, 1980, and received a General (Under Honorable Conditions) or




                                    8
            an Under Other Than Honorable discharge characterization from a Military Service

            and have an SPD code on their service separation document indicating that pre-

            DADT policies formed a reason for their administrative separation or where the

            veteran’s service separation document does not contain an SPD code the veteran

            received a service separation document where the Reason and Authority for

            discharge on the service separation document indicates that pre-DADT policies

            formed a reason for their administrative separation.

        gg. “SPD code” means Separation Program Designator Code and is a three-character

            alphabetic combination identifying the reasons for and type of administrative

            separation.

        hh. “Veteran” means a former service member.

C.      Terms of Settlement Agreement

5. Using the SPD codes identified in Attachment A, Defendants will prepare a list of class

     members whose identities may be obtained through Defense Manpower Data Center

     (“DMDC”) computerized records, which contain information about separations under

     DADT and pre-DADT policies beginning in 1980. This class list will not include class

     members who were discharged prior to January 1, 1980. This class list will include names,

     social security numbers, dates of birth, Military Service (where such information is

     contained within existing DMDC computerized records), and the respective Settlement

     Class Category (where a Settlement class member’s characterization of service can be

     obtained within existing DMDC computerized records).            The class list will identify

     veterans known to be deceased but otherwise satisfying the class definition if that

     information is available. The class list will be sorted or sortable by the Military Department




                                               9
   in which the class member served. Defendants will complete the preparation of this list

   within three months of the Effective Date of the Agreement.

6. Within one month of the Effective Date, the Department of Defense will issue a

   memorandum directing the Secretaries of the Military Departments to establish a process

   allowing veterans in Settlement Class Category A, Settlement Class Category B,

   Settlement Class Category D, Settlement Class Category E, Settlement Class Category G,

   and Settlement Class Category H to request an administrative change to their DD-214 as

   follows if sexual orientation, homosexual conduct, homosexual admission, homosexual

   marriage, attempt to engage in homosexual conduct or homosexual marriage or similar

   language referencing sexual orientation was the sole basis for their discharge on their DD-

   214: (1) the narrative basis (i.e., reason) for separation changed to “Secretarial Authority,”

   (2) the SPD code changed to correspond to the new narrative basis, and (3) the Re-Entry

   code upgraded to RE-1 (or a Re-Entry code equivalent to RE-1). The memorandum will

   direct that the changes described under this paragraph will not require the veteran to submit

   an application to a Military Correction Board or Military Discharge Review Board nor will

   the requested administrative change need to be adjudicated by a Military Correction Board

   or Military Discharge Review Board. The Administrative Change will be completed for

   eligible members of the Class who have requested the change in the same manner and on

   the same timetable as other administrative change requests not addressed by this

   Agreement. The memorandum will indicate that the requester will not be required to first

   obtain a copy of their DD-214 or other records of their military service. The memorandum

   will provide that Class members can apply for the administrative change procedures

   described in this paragraph within three months of the issuance of the Department of




                                            10
   Defense memorandum referenced in this paragraph and Class members will be permitted

   to apply for administrative changes for at least a three-year period following the date that

   the administrative change applications are first accepted by each Military Department (i.e.,

   the Availability Date). Processing of administrative change requests of any class members

   who have made such requests during this three-year period will be completed regardless of

   whether the three-year period has ended.

7. The Secretary of each Military Department (or their delegee) will submit a series of group

   applications to their respective Military Department Board for Correction of Military or

   Naval Records pursuant to 10 U.S.C. § 1552(b) for veterans in Settlement Class Category

   C, Settlement Class Category F, and Settlement Class Category I that the applicable

   Military Department finds to be similarly harmed by the same error or injustice for review

   of the veterans’ DD-214s (and corresponding military records) for potential upgrade of

   discharge characterization, and other corresponding corrections to their military records.

   Settlement Class members will be required to notify their respective Military Department

   that they seek to be considered for a group application (i.e., “opt-in”). Class Members will

   have the opportunity to begin opting-in to the group application process within three

   months of the Effective Date. The first series of group applications will be submitted by

   the respective Secretaries of the Military Departments within nine months of the Effective

   Date, and, provided there are a sufficient number of applicants for a cycle, group

   applications should generally be submitted in no greater than 90 day intervals. Irrespective

   of the number of applicants in a cycle, Defendants will use reasonable diligence to submit

   the applications of veterans who opt-in and are certified as “similarly harmed by the same

   error or injustice” within 180 days of the date of the veteran’s opt-in. Veterans in




                                           11
Settlement Class Category C, Settlement Class Category F, and Settlement Class Category

I will be able to opt-in to rolling group applications to the Military Department Board for

Correction of Military or Naval Records for a period of three years after the Military

Departments make the opt-in procedure available to members of the Class (i.e., the

Availability Date). Review of applications of any class members who have opted-in during

this period will be completed regardless of whether the three-year period has ended.

a. Once a Secretary of a Military Department certifies the individuals in a group

   application submitted pursuant to the settlement agreement were “similarly harmed by

   the same error or injustice,” the Secretary of the Military Department will submit a

   group application to the applicable Military Department Board for Correction of

   Military or Naval Records in accordance with 10 U.S.C. § 1552(b). Then, using

   guidance from Under Secretary of Defense for Personnel and Readiness Memorandum,

   “Correction of Military Records Following the Repeal of Section 654 of Title 10,

   United States Code,” September 20, 2011, the Military Department Board for

   Correction of Military or Naval Records will conduct a case-by-case individualized

   review to assess whether each veteran’s record warrants an upgrade to service

   characterization, a change to the narrative reason for discharge, changes to SPD and

   Re-Entry codes, or other appropriate relief. For purposes of the Military Department

   Board for Correction of Military or Naval Records (BCM/NR) review, the date of

   discovery of the error or injustice shall be the date the veteran’s records are transmitted

   to the appropriate BCM/NR by the Secretary of the Military Department (or their

   delegate).




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   b. Defendants will notify each Class member who has opted into the process of the

       outcome of the Military Department Board for Correction of Military or Naval Records

       review for their claim, advise each Class member how to obtain a copy of their

       corrected DD-214, and provide information on the options the veteran has if their claim

       was denied.

   c. A Class member who opts into the group application process but does not receive full

       relief from the Military Department Board for Correction of Military or Naval Records

       as permitted herein retains the right to file an individual application for upgrade through

       the usual Board correction process. The outcome of the group application for that Class

       Member will not be considered as part of the determination of their subsequent

       individual application for upgrade.

   d. A Class member who does not opt into the group application process as permitted

       herein retains the right to file an individual application for upgrade through the usual

       Board correction process.

8. Within five months of the Effective Date of this Agreement, Defendants will send letters

   to Class members in Settlement Class Category A, Settlement Class Category B,

   Settlement Class Category C, Settlement Class Category D, Settlement Class Category E,

   and Settlement Class Category F, providing information on the Military Departments’

   respective processes detailed in paragraphs 6 and 7 of this Agreement and on how to

   request the administrative change or how to opt into the record review process. The letters

   will be sent by means that permit tracking and return notice of forwarding address or non-

   deliverability but do not require signature of the recipient. Defendants will not send letters

   described in this paragraph to individuals who cannot be identified for inclusion on the




                                             13
class list, as described in paragraph 5, namely, veterans separated before January 1, 1980.

Prior to sending the letters described in this paragraph, Defendants will provide drafts to

Class Counsel for an opportunity to comment on clarity, readability, or accessibility of the

information provided therein. However, final content of the letters will be within the

discretion of Defendants.

a. In letters sent to class members in Settlement Class Category A, Settlement Class

   Category B, Settlement Class Category D, and Settlement Class Category E,

   Defendants will describe the criteria and process for the class member to obtain a

   corrected DD-214 through the administrative change process described in paragraph 6

   of this agreement.

b. In letters sent to class members in Settlement Class Category C and Settlement Class

   Category F, Defendants will state that, to opt-into the group review described in

   paragraph 7 of this Agreement, the Class member need only partially fill out the DD

   Form 149, “Application for Correction of Military Records Under the Provisions of

   Title 10, U.S. Code, Section 1552,” or other form or process designed to allow the

   Military Department or Department of Defense to maintain the information being

   submitted in an established system of records, by completing Section 1, 2 (and 5 and 6

   if applicable), and signing and dating the form. Defendants will also inform the Class

   member that Defendants will obtain a copy of the Class member’s military records to

   submit their application to the relevant Military Department Board for Correction of

   Military or Naval Records, provided that the class member provides Defendants

   sufficient information (i.e., full name during the time they were in military service,

   social security number, date of birth, military service, and years of service) to locate




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      the Class member’s record. For tracking purposes and so Defendants can more easily

      identify that the former service member is a Settlement class member, the letters will

      request that the Class member include the phrase “Farrell class action settlement” on

      block 13.

   c. Letters providing information on the Military Departments’ processes detailed in this

      Agreement will also be sent to class members administratively separated between

      January 1, 1980, and September 20, 2011, where DMDC data contains information

      sufficient to identify the class member and a SPD code that indicates DADT or pre-

      DADT policies formed a reason for that class member’s administrative separation, but

      the class member’s characterization of service or entry level status is not known

      through the DMDC database.

   d. For letters returned undeliverable, Defendants will undertake a reasonable effort to re-

      mail the letter where updated address information is available through tracing.

      Defendants will not be required to undertake tracing for any individual Class member

      more than once.

9. Within three months of the Effective Date, each Military Department will establish a

   website (or post on an existing website) the processes set forth in paragraphs 6 and 7. An

   email address will be posted on a website for each Military Department and will also be

   included in the letters described in paragraph 8. The purpose of the website and email

   address will be to aid Class members in applying for relief pursuant to the processes set

   forth in paragraphs 6 and 7. The website and email address described in this paragraph

   will remain available for the duration of the processes set forth in paragraphs 6 and 7.




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10. If a Class member is deceased or dies during the three-year term of the relief processes,

   their estate or next of kin may obtain the relief described in paragraph 6 or 7 on that

   veteran’s behalf, but Defendants have no obligation to send the letters as set forth in

   paragraph 8 to the estate or next of kin of any Class member.

11. The Department of Defense will post in plain language on its public facing website

   information relevant to the various forms of relief described in this agreement. The

   information will be posted on the website within four months of the Effective Date of this

   Agreement and will continue to be posted for at least three years thereafter. Defendants

   will update the website at regular intervals for the term of the final settlement agreement.

12. In addition to the letters described in paragraph 8 of this Agreement, Defendants will

   publicize the availability of the procedures for record correction described in paragraphs 6

   and 7 by sending notices to veterans and relevant veteran community groups, including but

   not limited to the U.S. Department of Veterans Affairs, Vietnam Veterans of America, The

   Veterans of Foreign Wars of the United States, and the American Legion.

13. Each Military Department will designate a point of contact who will provide Settlement

   Class members with assistance applying for relief pursuant to the processes set forth in

   Paragraphs 6 and 7. Such personnel will be able to be contacted by Settlement Class

   members through the email address as described in paragraph 9.

14. Defendants will provide Class Counsel with the following information within eight months

   of the Effective Date of this Agreement and every six months thereafter for a period of

   three years: (1) the number of veterans who have sought a correction of their record as

   described in paragraph 6; (2) the number of veterans who have obtained a correction of

   their record as described in paragraph 6; (3) the number of veterans who have sought a




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   correction of their record as described in paragraph 7; (4) the number of veterans who have

   obtained a correction of their record as described in paragraph 7.

15. Following the execution of this Agreement by the Parties, Defendants may rely on this

   Agreement to initiate any of the terms described in Section C (paragraphs 5-14) of this

   Agreement prior to the Effective Date of this Agreement. Defendants’ initiation of terms

   of this Agreement prior to Final Approval does not waive any rights under this Agreement.

16. The Parties agree that the terms of this Agreement are fair, reasonable, and adequate, and

   that this Agreement provides substantial benefits to the Class Members and is in the Class’s

   best interests.

      i.   Relief for Class Representatives

17. Defendants agree that Plaintiff Sherril Farrell may opt into the upgrade process described

   in paragraph 7 of this Agreement. Farrell’s application will be included in the first batch

   of upgrade requests submitted to the Board for Corrections of Naval Records.

18. Defendants agree that Plaintiff James Gonzales may opt into the upgrade process described

   in paragraph 7 of this Agreement. Gonzales’s application will be included in the first batch

   of upgrade requests submitted to the Board for Corrections of Naval Records.

19. Defendants agree that Plaintiff Jules Sohn may submit an application for the administrative

   change process described in paragraph 6 of this Agreement. Sohn’s application will be the

   first application addressed by Defendants under the process described in paragraph 6.

20. Defendants agree that Plaintiff Lilly Steffanides may opt into the upgrade process

   described in paragraph 7 of this Agreement. Steffanides’s application will be included in

   the first batch of upgrade requests submitted to the Board for Corrections of Naval Records,

   provided however that Defendants may expedite Plaintiff Steffanides’s application for




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     Board for Corrections of Naval Records review separate from the group application process

     for medical need.

D.      Settlement Class Certification, Class Notice, Approval, and Stipulation of
        Dismissal

21. Plaintiffs will submit this Agreement and its Attachments to the District Court along with

     a motion for its preliminary approval (“Motion for Preliminary Approval”). This Motion

     for Preliminary Approval will note Defendants’ non-objection to this motion. The Motion

     for Preliminary Approval will specifically request that the Court set a hearing on the motion

     and will be accompanied by, among other documents, this Agreement and its incorporated

     Attachments. The Motion for Preliminary Approval will specifically request that the

     Court:

     a. Find that it will be likely to certify the class definition, for settlement purposes,

        pursuant to Federal Rule of Civil Procedure 23(a) and (b)(2), conforming to the

        definition of “Class” in this Agreement;

     b. Find that it will be likely to appoint Class Counsel to represent the Settlement Class

        under Federal Rule of Civil Procedure 23(g);

     c. Find that the requirements for preliminary approval under Federal Rule of Civil

        Procedure 23 are satisfied, including that the Agreement should be preliminarily

        approved as fair, reasonable, and adequate;

     d. Approve the Parties’ Notice plan, as identified in paragraphs 23-24, for dissemination

        of notice of this Agreement pursuant to Federal Rule of Civil Procedure 23(e)(1);

     e. Set a date and procedure by which objections from Class members must be filed in

        accordance with this Agreement; and




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   f. Set a date for the Fairness Hearing approximately 60 days after preliminary approval,

       at which time the Court will determine whether the Agreement should be finally

       approved under Federal Rule of Civil Procedure 23(e).

22. Defendants agree solely for the purposes of this Agreement and its implementation that the

   Civil Action shall proceed as a class action under Federal Rule of Civil Procedure 23(b)(2)

   with a class definition that conforms to the definition of the “Class” in paragraph 4.c of this

   Agreement, but if such Agreement is not approved, or if final approval is not granted

   following the appeal of any order by the Court, or if for any reason the Effective Date of

   this Agreement does not occur, or if this Agreement is not consummated, then the class

   certification order shall be deemed null and void, and each Party shall retain all of their

   respective rights as they existed prior to execution of this Agreement and Defendants retain

   all rights to object to the maintenance of this Civil Action as a class action and retain all

   rights to object that any modified class definition satisfies the requirements of Federal Rule

   of Civil Procedure 23. Any certification of the class for settlement purposes is not an

   admission by Defendants that class certification is proper in this Civil Action or in any

   other litigation against Defendants.

      i.   Class Notice

23. The Parties agree that individualized class notice to every Class member is not necessary

   or practicable. The Parties agree to the form and content of the Class Notice included in

   Attachment B.

24. Notice will be provided to the Settlement Class as follows:

       a. Defendants will post the Class Notice on a public-facing Department of Defense.




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       b. Class Counsel will publish information about the Settlement, including the Class

           Notice, on their case website.

       c. Class Counsel will distribute the Class Notice and/or a summary of the information

           contained therein to LGBTQ and veterans organizations, legal clinics, and any

           related list-servs, across the country.

       d. Class Counsel will post a summary of the information contained in the Class Notice

           to social media channels.

       e. The Parties will issue a press release with links to the Class Notice at the

           Defendants’ and Class Counsel’s website.

25. If the Court determines that the agreed-upon notice to Class members described herein is

   insufficient, the Parties will negotiate in good faith in an attempt to agree on a reasonable

   notice procedure for approval by the Court.

     ii.   Objections

26. Any Class member who wishes to object to the fairness, reasonableness or adequacy of this

   Settlement Agreement, or the request for attorneys’ fees and reimbursement of litigation

   costs and expenses, must file with the Clerk of Court and serve all counsel, no later than

   twenty-one (21) days before the Fairness Hearing, a statement of the objection setting forth

   the specific reason(s), if any, for the objection, including any legal support that the Class

   member wishes to introduce in support of the objection, whether it applies only to the

   objector, to a specific subset of the Class, or to the entire Class, and whether the Class

   member intends to appear at the Fairness Hearing. Class members may so act either on

   their own or through any attorney hired at their own expense.




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27. Any Class member who files and serves a written objection in accordance with the

   foregoing paragraph may appear at the Fairness Hearing to object to any aspect of the

   fairness, reasonableness, or adequacy of this Agreement or the settlement contemplated

   hereby, provided, however, that a Class member who does not timely file and serve such a

   written objection will not be heard at the Fairness Hearing.

28. Subject to the Court’s discretion to hold otherwise, any Class member (or Class member’s

   attorney) who has not complied with the provisions of paragraphs 25 and 26 will waive

   and forfeit any and all rights the Class member may have to appear separately or to object

   and will be bound by the terms of the Settlement and by all of the proceedings, order and

   judgments in the Civil Action.

    iii.   Motion for Final Approval, Fairness Hearing, and Stipulation of Dismissal

29. On the date set by the Court in the Preliminary Approval Order, Plaintiffs will file a Motion

   for Final Approval requesting that the Court, among other things (a) affirm the Settlement

   Class definition for settlement purposes, (b) approve the Settlement Agreement as final,

   fair, reasonable, adequate, and binding on all Class members, (c) appoint Class Counsel

   pursuant to Federal Rule of Civil Procedure 23(g); and (d) approve payment of reasonable

   attorneys’ fees and reimbursement of litigation costs that are authorized by this Agreement

   and Federal Rule of Civil Procedure 23(h).

30. Any Party may respond to any timely filed objections no later than seven (7) days before

   the scheduled date of the Fairness Hearing.

     iv.   Stipulation of Dismissal

31. Plaintiffs and the Class agree to the dismissal of this case with prejudice subject to the

   terms of the Settlement Agreement. Immediately following, and no later than the day after




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     final approval of the Settlement Agreement, the parties will file a joint stipulation of

     dismissal with prejudice under Federal Rule of Civil Procedure 41(a)(1)(A)(ii). A copy of

     the joint stipulation of dismissal to be filed is attached as Attachment C to this Agreement.

E.      Class Release

32. In consideration of the relief provided for herein, Class members fully release Defendants

     from any claims, causes of action and/or requests for relief that would be barred by the

     doctrine of res judicata were final judgment on the merits entered on all claims asserted in

     the Civil Action, provided however that nothing herein releases subsequent individualized

     damage claims by Class members, even if based on the same events described in the

     Complaint filed in this Civil Action, and provided further that nothing herein releases

     subsequent individualized claims by class members seeking judicial review, under the

     general review provisions of the Administrative Procedure Act, 5 U.S.C. § 706, of agency

     action related to any request for correction of military records.

33. Class members do not waive their rights to apply through the usual Board review processes

     for any relief not obtained through the procedures set forth in this Settlement.

F.      Attorneys’ Fees and Costs

34. Defendants shall pay Plaintiffs, through undersigned counsel, $350,000.00 for attorneys’

     fees, costs, and other litigation expenses reasonably incurred in the Civil Action for

     injunctive relief (the “Attorneys’ Fees and Costs Payment”). The Attorneys’ Fees and

     Costs Payment constitutes full and complete satisfaction of Plaintiffs’ claims for attorneys’

     fees and costs in the Civil Action, and any and all potential claims that Plaintiffs and the

     Class may have for attorney fees, costs, and other litigation expenses associated with the

     Civil Action, inclusive of any interest. Defendants will effectuate the payment within

     approximately 90 days of the Effective Date of this Agreement. Defendants will pay the


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     above amount by wire transfer to an account at a financial institution designated in writing

     by counsel for Plaintiffs, consistent with the normal processing procedures followed by

     Defendants and the United States Department of the Treasury. Plaintiffs’ counsel will

     provide Defendants’ counsel the bank routing and account information for the account to

     receive such payments as well as all required documents and information needed by

     Defendants and/or the Department of the Treasury, consistent with the normal processing

     procedures followed by the Department of the Treasury. Defendants will promptly prepare

     and submit all required documentation for processing and disbursement of the payments

     set forth above to ensure that payment is made within the timeline set forth above.

35. The Plaintiffs assume liability for any tax consequences that may arise from this

     Agreement. Compliance with all applicable federal, state, and local tax requirements shall

     be the sole responsibility of the Plaintiffs. This Agreement is executed without reliance

     upon any representation by Defendants as to tax consequences, and the Plaintiffs are

     responsible for the payment of all taxes that may be associated with the settlement

     payments. Further, nothing in this Agreement waives or modifies federal, state, or local

     law pertaining to taxes, offsets, levies, and liens that may apply to this Agreement or the

     settlement proceeds, and this Agreement is executed without reliance on any representation

     by Defendants as to the application of any such law.

G.      Conditions that Render Settlement Agreement Void or Voidable

36. This Settlement Agreement shall be voidable by either party if not approved as written at

     any stage by the Court. In the event the Court declines to grant Final Approval of this

     Agreement, the parties will promptly meet and confer in good faith in an attempt to address

     any concerns raised at Final Approval.




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H.       Effect of Settlement Agreement if Voided

37. If this Settlement Agreement is not approved, the case will proceed as if no settlement has

     been attempted. In that event, the class certified for purposes of settlement will be

     decertified, and Defendants retain the right to contest whether this action should be

     maintained as a class action and to contest the merits of the claims being asserted by

     Plaintiffs in this Action.

38. All negotiations in connection herewith, and all statements made by the Parties at or

     submitted to the District Court as part of a Fairness Hearing process, shall be without

     prejudice to the Parties to the Settlement Agreement and shall not be deemed or construed

     to be an admission by any party of any fact, matter, proposition, nor admissible for any

     person in the Civil Action other than with respect to settlement of same.

39. The Parties retain all defenses, arguments, and motions as to all claims that have been or

     might later be asserted in the Civil Action, and nothing in this Agreement shall be raised

     or construed by any party, Class Member, or party’s counsel, to defeat or limit any claims,

     defenses, arguments, or motions asserted by either party. Neither this Agreement, nor the

     fact of its having been made, nor any attachment or exhibit or other document prepared in

     connection with this Settlement Agreement, shall be admissible, entered into evidence, or

     used in any form or manner in discovery in the Civil Action or in any other action or

     proceeding for any purposes inconsistent with Rule 408 of the Federal Rules of Evidence.

I.       Miscellaneous

40. The Parties will cooperate fully with each other and use their best efforts to obtain the

     Court’s approval of this Agreement and all of its terms. Each of the Parties, upon the

     request of another Party, agrees to perform such further acts and to execute and deliver




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   such other documents as are reasonably necessary to carry out the provisions of this

   Agreement.

41. In the event of any dispute regarding the implementation of the relief provided by this

   Settlement Agreement, the Parties will meet and confer in person to attempt informal

   resolution of the dispute. If the dispute cannot be resolved at the meet and confer, the

   Parties will consider in good faith mediation and/or arbitration to address the dispute.

   Plaintiffs will retain the right to file an action for enforcement only after engaging, in good

   faith, with Defendants as described above to resolve the matter, provided however that any

   such action will be a new civil action in an appropriate court, and not additional

   proceedings in the Civil Action. The parties agree that nothing herein waives any defenses

   or arguments that Defendants may raise in any such action.

42. This Agreement has been entered into by Plaintiffs and Defendants solely for the purposes

   of compromising potentially disputed claims including an award of attorneys’ fees, costs,

   and other litigation expenses in the Civil Action without protracted legal proceedings and

   avoiding the expense and risk of litigation regarding such claims.            Therefore, this

   Agreement is not intended and shall not be deemed an admission by any Party of the merit

   or lack of merit of an opposing Party’s claims or defenses. Without limiting the generality

   of the foregoing, this Agreement does not constitute, and shall not be construed as, an

   admission of liability or fault on the part of the Defendants or the United States or their

   present or former officials, employees or agents, or as an admission of any contested fact

   alleged by Plaintiffs in connection with Plaintiffs’ claims to include a request for an award

   of attorneys’ fees, costs, and other litigation expenses arising from the Civil Action. This

   Agreement may not be used as evidence or otherwise in any civil or administrative action




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   or proceeding against Defendants or the United States or any of their present or former

   officials, employees or agents, either in their official or individual capacities, except for

   proceedings necessary to implement or enforce the terms hereof.

43. This Agreement contains the entire agreement between Plaintiffs and Defendants as to all

   claims including all claims for attorneys’ fees, costs, and other litigation expenses in the

   Civil Action and supersedes all previous agreements, whether written or oral, between the

   Parties relating to Plaintiffs’ claims including claims for attorneys’ fees and other litigation

   expenses in the Civil Action. No promise or inducement has been made except as set forth

   herein, and no representation or understanding, whether written or oral, that is not expressly

   set forth herein shall be enforced or otherwise given any force or effect in connection with

   the Agreement.

44. The terms of this Agreement may not be modified or amended, and no provision hereof

   shall be deemed waived, except by a written instrument signed by the Party to be charged

   with the modification, amendment, or waiver, or by such Party’s counsel or by order of a

   court of competent jurisdiction.

45. The Parties acknowledge that the preparation of this Agreement was collaborative in

   nature, and so agree that any presumption or rule that an agreement is construed against its

   drafter shall not apply to the interpretation of this Agreement or any term or provision

   hereof.

46. Plaintiffs warrant and represent that no other action or suit with respect to Plaintiffs’ claims

   as released herein, including any claims for attorneys’ fees, costs, and other litigation

   expenses advanced in the Civil Action is pending or will be filed in or submitted to any

   other court, administrative agency, or legislative body. Plaintiffs further warrant and




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   represent that they have made no assignment or transfer of all or any part of their rights

   arising out of or relating to Plaintiffs’ claims including any claims for attorney fees, costs,

   and other litigation expenses advanced in this suit.

47. Each Party agrees to take such actions and to execute such additional documents as may

   be necessary or appropriate to fully effectuate and implement the terms of this Agreement.

48. The Parties to this Agreement will defend against any challenges to it in any forum.

49. This Agreement may be executed in two or more counterparts, each of which shall be

   deemed to be an original and all of which together shall be deemed to be one and the same

   agreement. A portable document format (“.PDF”) signature, electronic image of a

   signature, or other duplicate of a signature shall have the same effect as a manually

   executed original. Each signatory to this Agreement represents and warrants that the

   signatory is fully authorized to enter into this Agreement on behalf of the persons or entities

   indicated below, and has done so freely and voluntarily, without any degree of duress or

   compulsion. Unless context indicates otherwise, this agreement is effective on the Effective

   Date of this Agreement.

50. The headings in this Agreement are for convenience only and do not limit, expand, modify,

   or aid in the interpretation or construction of this Agreement.

51. For purposes of this Agreement, the term “days” means calendar days, and whenever a

   deadline for an event lands on a Saturday, Sunday, or observed federal holiday, the deadline

   will be extended to the following business day.




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DATED: January 3, 2025        __________________________

                              Jocelyn Larkin (SBN 110817)
                              Lindsay Nako (SBN 239090)
                              Lori Rifkin (SBN 244081)
                              Fawn Rajbhandari-Korr (SBN 315888)
                              Meredith Dixon (SBN 346864)
                              IMPACT FUND

                              Elizabeth Kristen (SBN 218227)
                              Lynnette Miner (SBN 304276)
                              LEGAL AID AT WORK

                              David K. Willingham (SBN 198874)
                              Radha Manthe (admitted pro hac vice)
                              Rachel Yeung (SBN 317361)
                              KING & SPALDING LLP

                              Chelsea Corey (admitted pro hac vice)
                              HAYNES & BOONE, LLP

                                 Counsel for Plaintiffs


DATED: January 3, 2025        __________________________

                              BRIAN M. BOYNTON
                                Principal Deputy Assistant Attorney
                                General
                              ALEXANDER K. HAAS
                                Director, Federal Programs Branch
                              LAUREN A. WETZLER
                                Deputy Director, Federal Programs
                                Branch
                              ANDREW E. CARMICHAEL
                                Senior Trial Counsel
                              LIAM C. HOLLAND
                                Trial Attorney

                                 Counsel for Defendants




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      Attachment A: Paragraph 5 SPD Codes
B60                       JRA
BKC                       JRB
BLC                       JRC
BML                       KBA
BRA                       KRA
BRB                       KRB
BRC                       KRC
DLC                       LRB
DRA                       ZZZ
FKC
FML
GKC
GLC
GML
GRA
GRB
GRC
HKC
HLC
HML
HRA
HRB
HRC
JJB
JKC
JLC
JML
                    United States District Court
                    Farrell et al. v. Department of Defense et al.
                    Case No. 3:23-cv-04013-JCS




    Class Action Notice
    Authorized by the U.S. District Court
    If you served in              There is a                         Read this
    the U.S. Armed                proposed                           notice to learn
    Forces and your               settlement of a                    about your
    DD-214                        lawsuit that would                 rights
    references sexual             allow you to
    orientation as a              request a new DD-
    reason for your               214
    discharge

    Important things to know:

•    There is a proposed settlement of a class action lawsuit brought by veterans
     whose DD-214s reference sexual orientation as a reason for their discharge.

•    If your DD-214 references sexual orientation and your discharge characterization
     is Honorable or Uncharacterized/Entry Level, you would be able to request a new
     DD-214 that does not reference sexual orientation.

•    If your DD-214 references sexual orientation and your discharge characterization
     is General Under Honorable Conditions or Under Other Than Honorable
     Conditions, you would be able to request a review for an upgrade to your service
     characterization and a new DD-214 that does not reference sexual orientation.

•    Additional information about the lawsuit and settlement is available at
     www.justiceforlgbtqveterans.com.
About the Lawsuit
What is this lawsuit about?
     This lawsuit is about whether the
     United States Constitution requires     Where can I learn more?
     the Department of Defense to
                                             You can get a complete copy of the
     remove references to sexual
                                             proposed settlement and other key
     orientation from discharge
     paperwork (DD-214) of veterans          case documents at:
     discharged under “Don’t Ask, Don’t      www.justiceforlgbtqveterans.com
     Tell” and earlier policies barring
     lesbian, gay, and bisexual people from serving in the military.

Why was the lawsuit filed?
     Plaintiffs argue that referencing sexual orientation on DD-214s of
     veterans violates the Constitution because it is discriminatory and
     invades their privacy. The Department of Defense denies that it or the
     military branches are violating any laws.

About the Settlement
Why is there a settlement?
     In December 2024, the parties agreed to a settlement to end the
     lawsuit. Both sides want to avoid the risk, delay, and expense of more
     legal action.
     The purpose of this notice is to provide information about the
     proposed settlement agreement and help people understand their
     rights if they are covered by the settlement.

Am I part of this settlement?
     If the settlement is approved, it will apply to a group of people called the
     “Class.” People who are part of the Class are called “Class Members.” The
     settlement will decide the rights of all Class Members in the lawsuit.

     You are a Class Member if ALL of the following are true:
     (1) You served in the U.S. Army, Navy, Air Force, or Marine Corps; and
     (2) You were administratively separated (involuntarily discharged without
         a court martial proceeding) before September 20, 2011; and
     (3) The reason for discharge on your DD-214 references sexual
         orientation in a code or the narrative reason for separation.


2    Farrell et al. v. Department of Defense et al., Case No. 3:23-cv-04013-JCS
What will the settlement do?
     Normally, if you want to change something on your DD-214, you have
     to submit a petition to the Board of Corrections for review. The
     proposed settlement makes it easier and faster for Class Members to
     request changes to their DD-214s relating to sexual orientation.

     If the settlement is approved, it will do the following:
     •   If your DD-214 references sexual orientation and your discharge
         characterization is Honorable or Uncharacterized/Entry Level, you
         will be able to request a new DD-214 that does not reference
         sexual orientation. You will receive a new DD-214 without having
         to go through a Board review.
     •   If your DD-214 references sexual orientation and your discharge
         characterization is General Under Honorable Conditions or Under
         Other Than Honorable Conditions, you will be able to request to be
         part of a group review by the Board for an upgrade to your service
         characterization and a new DD-214 that does not reference sexual
         orientation.
     •   You will not need to have your military record or submit a petition
         in order to request these corrections.

     If the settlement is approved, Class Members will “release” their
     claims, which means that they cannot bring another group lawsuit
     against the Department of Defense (or the military branches) about
     the same issues in this lawsuit. You can find out more information
     about what this means at www.justiceforlgbtqveterans.com.

     All Class Members will still have the option to use the regular Board
     review process to request corrections to their records.

Do I have a lawyer in this lawsuit?
     In a class action, the court appoints lawyers to represent the interests of all
     Class Members. The following lawyers represent Class Members in this case:
Lori Rifkin            Radha Manthe              Elizabeth Kristen            Chelsea Corey
IMPACT FUND            KING & SPALDING LLP       LEGAL AID AT WORK            HAYNES & BOONE, LLP
(510) 845-3473         (213) 443-4433            (415) 864-8848               (980) 771-8251
www.impactfund.org     www.kslaw.com             www.legalaidatwork.org       www.haynesboone.com

     You can also hire your own lawyer at your own expense.




3    Farrell et al. v. Department of Defense et al., Case No. 3:23-cv-04013-JCS
Do I have to pay the lawyers in this lawsuit?
     No, you do not have to pay anything to the lawyers. The settlement
     allows the Court to approve a payment from the Department of Defense to
     the lawyers of $350,000. This is called “attorneys’ fees and costs,” and it pays
     the lawyers for their work and expenses they paid in this case.

What happens next?
     The Court will hold a hearing about whether to approve the proposed
     settlement.

     If the Court approves the settlement, Class Members will be able
     to request changes to their DD-214s starting in mid-2025. The
     Department of Defense will post information about how to make
     these requests on its website. If the settlement is not approved, the
     lawsuit will continue.

     The Court will hold the hearing about whether to approve the
     settlement on [date] at [time] at:
     Phillip Burton Federal Building & United States Courthouse
     Courtroom 3, 15th Floor
     450 Golden Gate Ave.
     San Francisco, CA 94102
     The scheduled hearing date may change. You can check the date at:
     www.justiceforlgbtqveterans.com.


Do I need to do anything if I am a Class Member?
     At the hearing, the Court will decide whether to approve the proposed
     settlement. If the Court approves the settlement, it will apply to all
     Class Members.

     If you agree with the proposed settlement, you do not need to do
     anything right now. If you disagree with the settlement, you can object.


Objecting
What if I disagree with the settlement?
     If you disagree with any part of the settlement, you can tell the Court you
     object. You must say why you think the Court should not approve the
     settlement and whether your objection applies to just you, a part of the
     Class, or the entire Class. The Court will consider this when it decides


4    Farrell et al. v. Department of Defense et al., Case No. 3:23-cv-04013-JCS
     whether to approve the settlement. You can, but don’t have to, hire a lawyer
     to help you with an objection.

     To object, you must do the following:
    1. Mail your objection to the Court:

    Phillip Burton Federal Building & United States Courthouse
    Courtroom 3, 15th Floor
    450 Golden Gate Ave.
    San Francisco, CA 94102

    AND

    2. Mail or email your objection to the attorneys:

    Impact Fund                                   United States Department of Justice
    Attn: Farrell v. DoD Objections               Attn: Andrew E. Carmichael
    2080 Addison St., Suite 5                     1100 L St. NW
    Berkeley, CA 94704                            Washington, DC 20005
    lrifkin@impactfund.org                        andrew.e.carmichael@usdoj.gov

     Your written objection must include:
     (1) the case name and number;
     (2) your full name;
     (3) your address, phone number, and email address (if you have one);
     (4) the reasons why you think the settlement should not be approved and
         whether your objection applies just to you, to part of the Class, or to the
         entire Class;
     (5) whether either you or your lawyer intend to appear at the settlement
         approval hearing and your lawyer's name; and
     (6) your signature (handwritten or typed)


If the Settlement is Approved
When would I be able to apply for a change to my DD-214?
     The proposed settlement does not go into effect until it is approved by
     the Court. The Court will hold a final approval hearing on [date]. If the
     Court approves the settlement, it will issue a “final approval order.”
     Within 5 months after that order, DoD will post information on its
     website and mail letters to Class Members telling them how to apply
     for a new DD-214.


5   Farrell et al. v. Department of Defense et al., Case No. 3:23-cv-04013-JCS
       If there are no delays, Class Members will be able to start
       requesting new DD-214s in mid-2025. Class Members will have 3
       years after the new records correction process begins to submit
       requests for new DD-214s.

       Information about how to apply for a new DD-214 will also be posted
       on www.justiceforlgbtqveterans.com.


What would the proposed settlement mean for me?



                     Does your DD-214 reference sexual orientation?




            No                                                             Yes



      This settlement
                                                                What is your discharge
    does not affect your
                                                                  characterization?
           rights.



                                          Honorable                        General Under
        To learn about                        or                        Honorable Conditions
     military corrections             Uncharacterized/                             or
       in general, visit:
      www.defense.gov                    Entry Level                    Other Than Honorable



                                                                        You would be able to
                                    You would be able to                request review for a
                                      request to have                  potential upgrade to an
                                    references to sexual                Honorable discharge
                                    oreintation removed                characterization and to
                                     from your DD-214                 have references to sexual
                                                                      oreination removed from
                                                                            your DD-214


To request a change, will I need a copy of my current DD-214?
       No. If the settlement is approved, you will not need a copy of your
       current DD-214 in order to request a new DD-214.

6     Farrell et al. v. Department of Defense et al., Case No. 3:23-cv-04013-JCS
What would be on my new DD-214?
    The possible changes to your DD-214 are:


    If your discharge status is currently Honorable or
    Uncharacterized/Entry Level
    Narrative reason        Changed to “Secretarial Authority.”
    for separation
    Separation code         Changed to “Secretarial Authority.”
    Re-Entry code           Re-Entry code changed to RE-1. (If your Re-Entry code is
                            already RE-1, it will not change.)
    Discharge               If your characterization is Honorable or
    characterization        Uncharacterized/Entry Level, it will not change.

    If your discharge status is currently General Under Honorable
    Conditions or Other Than Honorable
    Narrative reason        Changed to “Secretarial Authority.”
    for separation
    Separation code         Changed to “Secretarial Authority.”
    Re-Entry code           Re-Entry code changed to RE-1. (If your Re-Entry code is
                            already RE-1, it will not change.)
    Discharge               If your characterization is General Under Honorable
    characterization        Conditions or Other Than Honorable, your discharge
                            characterization could be upgraded to “Honorable.” If
                            you request a review, DoD will send your records to the
                            Board for Corrections of Military or Naval Records for
                            review. An upgrade to “Honorable” should normally be
                            granted if there are no aggravating factors in your
                            record.

                            If you request review for an upgrade and are denied,
                            you can still apply for corrections to your DD-214
                            through the regular Board process.

Key Resources:
    For more information about the lawsuit, settlement, and answers to
    common questions, visit: www.justiceforlgbtqveterans.com.




7   Farrell et al. v. Department of Defense et al., Case No. 3:23-cv-04013-JCS
 1   [Counsel signature blocks to be inserted
     here]
 2

 3

 4                              UNITED STATES DISTRICT COURT

 5                        NORTHERN DISTRICT OF CALIFORNIA

 6

 7   SHERRILL FARRELL, et. al.,
                                                           CASE NO. 3:23-cv-4013 JCS
 8                                 Plaintiffs,
                                                           JOINT STIPULATION OF
 9                         v.                              DISMISSAL
10   UNITED STATES DEPARTMENT OF
     DEFENSE, et. al.,
11
                                   Defendants.
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                                     Farrell v. DoD, No. 3:23-cv-4013 JCS
28                                       Joint Stipulation of Dismissal
1           The Court having approved settlement of all claims raised by Plaintiffs and the Class

2    certified in the above-captioned action, pursuant to Federal Rules of Civil Procedure 23(e) and

3    41(a)(1)(A)(ii), the parties hereby stipulate to dismissal of this action with prejudice.

4           [Date and Counsel Signature Block to be Inserted Here]

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27                                     Farrell v. DoD, No. 3:23-cv-4013 JCS
                                           Joint Stipulation of Dismissal
28
                                                        1
EXHIBIT 2
                    United States District Court
                    Farrell et al. v. Department of Defense et al.
                    Case No. 3:23-cv-04013-JCS




    Class Action Notice
    Authorized by the U.S. District Court
    If you served in              There is a                         Read this
    the U.S. Armed                proposed                           notice to learn
    Forces and your               settlement of a                    about your
    DD-214                        lawsuit that would                 rights
    references sexual             allow you to
    orientation as a              request a new DD-
    reason for your               214
    discharge

    Important things to know:

•    There is a proposed settlement of a class action lawsuit brought by veterans
     whose DD-214s reference sexual orientation as a reason for their discharge.

•    If your DD-214 references sexual orientation and your discharge characterization
     is Honorable or Uncharacterized/Entry Level, you would be able to request a new
     DD-214 that does not reference sexual orientation.

•    If your DD-214 references sexual orientation and your discharge characterization
     is General Under Honorable Conditions or Under Other Than Honorable
     Conditions, you would be able to request a review for an upgrade to your service
     characterization and a new DD-214 that does not reference sexual orientation.

•    Additional information about the lawsuit and settlement is available at
     www.justiceforlgbtqveterans.com.
About the Lawsuit
What is this lawsuit about?
     This lawsuit is about whether the
     United States Constitution requires     Where can I learn more?
     the Department of Defense to
                                             You can get a complete copy of the
     remove references to sexual
                                             proposed settlement and other key
     orientation from discharge
     paperwork (DD-214) of veterans          case documents at:
     discharged under “Don’t Ask, Don’t      www.justiceforlgbtqveterans.com
     Tell” and earlier policies barring
     lesbian, gay, and bisexual people from serving in the military.

Why was the lawsuit filed?
     Plaintiffs argue that referencing sexual orientation on DD-214s of
     veterans violates the Constitution because it is discriminatory and
     invades their privacy. The Department of Defense denies that it or the
     military branches are violating any laws.

About the Settlement
Why is there a settlement?
     In January 2025, the parties signed a settlement agreement to end the
     lawsuit. Both sides want to avoid the risk, delay, and expense of more
     legal action.
     The purpose of this notice is to provide information about the
     proposed settlement agreement and help people understand their
     rights if they are covered by the settlement.

Am I part of this settlement?
     If the settlement is approved, it will apply to a group of people called the
     “Class.” People who are part of the Class are called “Class Members.” The
     settlement will decide the rights of all Class Members in the lawsuit.

     You are a Class Member if ALL of the following are true:
     (1) You served in the U.S. Army, Navy, Air Force, or Marine Corps; and
     (2) You were administratively separated (involuntarily discharged without
         a court martial proceeding) before September 20, 2011; and
     (3) The reason for discharge on your DD-214 references sexual
         orientation in a code or the narrative reason for separation.


2    Farrell et al. v. Department of Defense et al., Case No. 3:23-cv-04013-JCS
What will the settlement do?
     Normally, if you want to change something on your DD-214, you have
     to submit a petition to the Board of Corrections for review. The
     proposed settlement makes it easier and faster for Class Members to
     request changes to their DD-214s relating to sexual orientation.

     If the settlement is approved, it will do the following:
     •   If your DD-214 references sexual orientation and your discharge
         characterization is Honorable or Uncharacterized/Entry Level, you
         will be able to request a new DD-214 that does not reference
         sexual orientation. You will receive a new DD-214 without having
         to go through a Board review.
     •   If your DD-214 references sexual orientation and your discharge
         characterization is General Under Honorable Conditions or Under
         Other Than Honorable Conditions, you will be able to request to be
         part of a group review by the Board for an upgrade to your service
         characterization and a new DD-214 that does not reference sexual
         orientation.
     •   You will not need to have your military record or submit a petition
         in order to request these corrections.

     If the settlement is approved, Class Members will “release” their
     claims, which means that they cannot bring another group lawsuit
     against the Department of Defense (or the military branches) about
     the same issues in this lawsuit. You can find out more information
     about what this means at www.justiceforlgbtqveterans.com.

     All Class Members will still have the option to use the regular Board
     review process to request corrections to their records.

Do I have a lawyer in this lawsuit?
     In a class action, the court appoints lawyers to represent the interests of all
     Class Members. The following lawyers represent Class Members in this case:
Lori Rifkin            Radha Manthe              Elizabeth Kristen            Chelsea Corey
IMPACT FUND            KING & SPALDING LLP       LEGAL AID AT WORK            HAYNES & BOONE, LLP
(510) 845-3473         (404) 572-4810            (415) 864-8848               (980) 771-8251
www.impactfund.org     www.kslaw.com             www.legalaidatwork.org       www.haynesboone.com

     You can also hire your own lawyer at your own expense.




3    Farrell et al. v. Department of Defense et al., Case No. 3:23-cv-04013-JCS
Do I have to pay the lawyers in this lawsuit?
     No, you do not have to pay anything to the lawyers. The settlement
     allows the Court to approve a payment from the Department of Defense to
     the lawyers of $350,000. This is called “attorneys’ fees and costs,” and it pays
     the lawyers for their work and expenses they paid in this case.

What happens next?
     The Court will hold a hearing about whether to approve the proposed
     settlement on March 12, 2025, at 9:30 am at:

     Phillip Burton Federal Building & United States Courthouse
     Courtroom B, 15th Floor
     450 Golden Gate Ave.
     San Francisco, CA 94102

     Members of the public can watch this hearing live on Zoom at:
     Webinar ID: 161 926 0804
     Password: 050855
     If the Court approves the settlement, Class Members will be able
     to request changes to their DD-214s starting in mid-2025. The
     Department of Defense will post information about how to make
     these requests on its website. If the settlement is not approved, the
     lawsuit will continue.

     The scheduled hearing date may change. You can check the date at:
     www.justiceforlgbtqveterans.com.


Do I need to do anything if I am a Class Member?
     At the hearing, the Court will decide whether to approve the proposed
     settlement. If the Court approves the settlement, it will apply to all
     Class Members.

     If you agree with the proposed settlement, you do not need to do
     anything right now. If you disagree with the settlement, you can object.

Objecting
What if I disagree with the settlement?
     If you disagree with any part of the settlement, you can tell the Court you
     object. You must say why you think the Court should not approve the
     settlement and whether your objection applies to just you, a part of the

4    Farrell et al. v. Department of Defense et al., Case No. 3:23-cv-04013-JCS
     Class, or the entire Class. The Court will consider this when it decides
     whether to approve the settlement. You can, but don’t have to, hire a lawyer
     to help you with an objection.

     Objections must be received by February 19, 2025. To object:
    1. Mail your objection to the Court:

    Clerk’s Office
    United States District Court for the Northern District of California
    16th Floor, 450 Golden Gate Avenue
    San Francisco, CA 94102-3489

    Attn: Case No. 23-cv-4013-JCS

    AND

    2. Mail or email your objection to the attorneys:

    Impact Fund                                   United States Department of Justice
    Attn: Farrell v. DoD Objections               Attn: Andrew E. Carmichael
    2080 Addison St., Suite 5                     1100 L St. NW
    Berkeley, CA 94704                            Washington, DC 20005
    lrifkin@impactfund.org                        andrew.e.carmichael@usdoj.gov

     Your written objection must include:
     (1) the case name and number;
     (2) your full name;
     (3) your address, phone number, and email address (if you have one);
     (4) the reasons why you think the settlement should not be approved and
         whether your objection applies just to you, to part of the Class, or to the
         entire Class;
     (5) whether either you or your lawyer intend to appear at the settlement
         approval hearing and your lawyer's name; and
     (6) your signature (handwritten or typed)


If the Settlement is Approved
When would I be able to apply for a change to my DD-214?
     The proposed settlement does not go into effect until it is approved by
     the Court. The Court will hold a final approval hearing on March 12,
     2025. If the Court approves the settlement, it will issue a “final
     approval order.” Within 5 months after that order, DoD will post

5   Farrell et al. v. Department of Defense et al., Case No. 3:23-cv-04013-JCS
       information on its website and mail letters to Class Members telling
       them how to apply for a new DD-214.

       If there are no delays, Class Members will be able to start
       requesting new DD-214s in mid-2025. Class Members will have 3
       years after the new records correction process begins to submit
       requests for new DD-214s.

       Information about how to apply for a new DD-214 will also be posted
       on www.justiceforlgbtqveterans.com.


What would the proposed settlement mean for me?



                  Does your DD-214 reference sexual orientation?




           No                                                          Yes


     This settlement
                                                            What is your discharge
     does not affect
                                                              characterization?
       your rights.



                                       Honorable                       General Under
       To learn about                       or                      Honorable Conditions
    military corrections           Uncharacterized/                                or
      in general, visit:
     www.defense.gov                   Entry Level                  Other Than Honorable



                                                                    You would be able to
                                 You would be able to               request review for a
                                   request to have                 potential upgrade to an
                                 references to sexual               Honorable discharge
                                 oreintation removed               characterization and to
                                  from your DD-214                have references to sexual
                                                                  oreination removed from
                                                                        your DD-214




6     Farrell et al. v. Department of Defense et al., Case No. 3:23-cv-04013-JCS
To request a change, will I need a copy of my current DD-214?
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     current DD-214 in order to request a new DD-214.

What would be on my new DD-214?
     The possible changes to your DD-214 are:

     If your discharge status is currently Honorable or
     Uncharacterized/Entry Level
     Narrative reason       Changed to “Secretarial Authority.”
     for separation
     Separation code        Changed to “Secretarial Authority.”
     Re-Entry code          Re-Entry code changed to RE-1. (If your Re-Entry code is
                            already RE-1, it will not change.)
     Discharge              If your characterization is Honorable or
     characterization       Uncharacterized/Entry Level, it will not change.

     If your discharge status is currently General Under Honorable
     Conditions or Other Than Honorable
     Narrative reason       Changed to “Secretarial Authority.”
     for separation
     Separation code        Changed to “Secretarial Authority.”
     Re-Entry code          Re-Entry code changed to RE-1. (If your Re-Entry code is
                            already RE-1, it will not change.)
     Discharge              If your characterization is General Under Honorable
     characterization       Conditions or Other Than Honorable, your discharge
                            characterization could be upgraded to “Honorable.” If
                            you request a review, DoD will send your records to the
                            Board for Corrections of Military or Naval Records for
                            review. An upgrade to “Honorable” should normally be
                            granted if there are no aggravating factors in your
                            record.

                            If you request review for an upgrade and are denied,
                            you can still apply for corrections to your DD-214
                            through the regular Board process.

Key Resources:
     For more information about the lawsuit, settlement, and answers to
     common questions, visit: www.justiceforlgbtqveterans.com.

7   Farrell et al. v. Department of Defense et al., Case No. 3:23-cv-04013-JCS
